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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 8:03cr137
                                                     USM Number 18892-047

RYAN HAYNES
                       Defendant
                                                     Jerry J. Sena
                                                     Defendant’s Attorney
___________________________________
                   AMENDED JUDGMENT IN A CRIMINAL CASE
            ON MOTION OF THE GOVERNMENT AFTER INITIAL SENTENCING
                     (For Offenses Committed On or After November 1, 1987)

Date of Original Judgment: May 28, 2004
(Or Date of Last Amended Judgment)

Reason for Amendment:
      Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))

THE DEFENDANT pleaded guilty to counts I and III of the Superseding Indictment on February 17,
2004.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:
                                                          Date Offense               Count
         Title, Section & Nature of Offense                Concluded               Number(s)


 21 U.S.C. 841(a)(1), (b)(1), and 846 CONSPIRACY           09/16/2003                   I
 TO DISTRIBUTE AND POSSESSION WITH INTENT
 TO DISTRIBUTE METHAMPHETAMINE

 18 U.S.C. 924(c) BRANDISHING A WEAPON IN                  09/30/2002                   III
  FURTHERANCE OF A DRUG TRAFFICKING CRIME

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

[X] Government’s motion (filing 171) for reduction of sentence pursuant to Rule 35(b) is granted.

Any remaining counts, if any, are dismissed on the motion of the government as to this defendant
only.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                   June 24, 2005

                                                                         s/ Richard G. Kopf
                                                                     United States District Judge
                                                                             June 24, 2005
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                                           ADJUDICATION


         On February 17, 2004, Magistrate Judge F.A. Gossett conducted a change of plea hearing
pursuant to Fed. R. Crim. P. 11, wherein the defendant entered a plea of "Guilty" to count(s) I and
III of the Superseding Indictment. No one objected to the proceedings before Magistrate Judge
F.A. Gossett concerning entry of the defendant's guilty plea(s). Following the change of plea
hearing, Magistrate Judge F.A. Gossett submitted a Report and Recommendation recommending
that this court [accept the defendant's plea of guilty and review the defendant's plea agreement at
the time of sentencing.

       Based on the record in this case, and after an independent examination of all the
proceedings in this case, including the transcript of the hearing held before the magistrate judge
concerning the defendant's plea of guilty, and in view of the presentence report on the defendant,
the court specifically finds and expressly concludes the following:

        The Court finds that Ryan Haynes is competent to plead and understands the nature of the
charge(s) in this case and further understands the possible penalties which may be imposed on
conviction of the offense(s) charged.

        The Court finds that Ryan Haynes fully understands his rights, including the right to plead
not guilty and to persist in that plea of not guilty; the right to be tried by a jury; the right to have the
assistance of counsel at trial; the right to confront and cross-examine witnesses; and the right not
to be compelled to testify against himself.

         The Court finds that the defendant voluntarily, knowingly and intelligently waives his rights;
that the defendant fully understands the consequences of waiving his rights; and that the plea of
guilty is supported by an independent basis in fact concerning each essential element of the
offense(s) charged.

        Further, The Court finds that the defendant understands that, as a consequence of his guilty
plea, there will be no trial of any kind concerning the charge(s) against the defendant and the
defendant has knowingly waived the right to have a jury determine the quantity of controlled
substance attributable to him as alleged in the Indictment/Information. The Court also finds that
the defendant understands that the answers to questions in these proceedings may be used
against the him if there is a later prosecution for perjury or any false statement relative to this
hearing.

      Therefore, the court accepts the guilty plea(s) of Ryan Haynes and now adjudges that Ryan
Haynes, is guilty of the offense(s) charged in Count(s) I, III of the Superseding Indictment.
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                                     IMPRISONMENT

The defendant’s sentence of imprisonment is reduced from the original sentence to a term of sixty
(60) months on Count I and thirty-six (36) months on Count III to run consecutively.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant participate in the 500-hour Comprehensive Drug Treatment
        Program or any similar drug treatment program available.

2.      Defendant shall be given credit for time in custody.


                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                    SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of five
(5) years on Count I and five (5) years on Count III to run concurrently.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                         STANDARD CONDITIONS OF SUPERVISION
1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
13.     As directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.
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                           SPECIAL CONDITIONS OF SUPERVISION


1.      Paragraph #7 of the Standard Conditions of Supervision is modified, i.e., instead of merely
        refraining from excessive use of alcohol, the defendant shall not purchase, possess, use,
        distribute or administer any alcohol. For the purpose of this condition, alcohol will be
        considered just the same as a narcotic or controlled substance.

2.      The defendant shall be subject to the search of the defendant's premises, vehicle or
        person, day or night, with or without a warrant, by a federal probation officer in supervision
        of the defendant, to determine the presence of any controlled substance, firearm or any
        other contraband. Any such items found may be seized by the United States Probation
        officer. This condition may be invoked with or without the cooperation of law enforcement
        officers.

3.      The defendant shall attend, pay for and successfully complete diagnostic evaluation,
        treatment or counseling program, and shall become a member of a support group (e.g.,
        AA/NA) regarding alcohol and/or controlled substance abuse. To implement this condition,
        the particular diagnostic evaluation, counseling, treatment and support group are to be
        approved by the probation officer.

4.      The defendant shall provide the probation officer with access to any requested financial
        information.

5.      Pursuant to 18 U.S.C. § 3583(d), the defendant shall submit to a drug test within fifteen (15)
        days of release from the place of the defendant's imprisonment and shall submit to at least
        two (2) periodic drug tests thereafter to determine whether the defendant is using a
        controlled substance. Further, the defendant shall submit to additional testing to detect the
        presence of any controlled substance in the defendant's body fluids or determine whether
        the defendant has used any controlled substance. The defendant shall pay for the
        collection of urine samples to be tested for the presence of a controlled substance. To
        implement this condition, the time, place and manner of testing are to be approved by the
        probation officer.

6.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
        District of Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza,
        Suite C79, Omaha, Nebraska, (402) 661-7555, within seventy-two (72) hours of release
        from confinement, and, thereafter, as directed by the probation officer.
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                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                       Total Fine                     Total Restitution

         $200.00 (PAID)

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:


                                                FINE

        No fine imposed.

                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay; payment of the total criminal monetary penalties
shall be due as follows:

     The defendant has paid the special assessment in the amount of $200.00, Receipt
#O823039.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

      All financial penalty payments are to be made to the Clerk of Court for the District of
Nebraska, 111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest (7) penalties, and
(8) costs, including cost of prosecution and court costs.
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CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
